Case 1:15-bk-12127        Doc 20      Filed 12/03/15 Entered 12/03/15 12:09:28               Desc Main
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         United States Bankruptcy Court, District of Rhode Island
                          Proceeding Memorandum / Order of Court

         Lesa Ann Nash
In Re:                                                     Case Number: 1:15-bk-12127 Ch: 13

MOVANT/APPLICANT/PARTIES:
Objection to Debtor's Motion to Pay Only the Assessed Taxes for 2013 and 2014
(Doc #19) ("Objection")


OUTCOME:

__ Granted    __ Denied    __ Approved      __ Sustained
__ Moot       __ Denied without prejudice    __ Withdrawn in open court     __ Overruled
__ OSC Enforced / Released
__ Continued to: ________________________ For: _____________________________________
__ Formal order / stipulation to be submitted by: ____________________ Date due: ___________
__ Findings and conclusions dictated at the close of hearing incorporated by reference
_______ Taken under advisement: Brief(s) due: _________________ From: __________________
                                 Response due: _________________ From: __________________
__ Fee(s) allowed in the amount of: $ _____________________ Expenses of: $ _______________
__ No appearance / response by: _____________________________________________________
  ✔ DECISION SET OUT MORE FULLY BY COURT AS FOLLOWS:
_______
The Objection is stricken for failure to comply with R.I. LBR 9010-1(d)(2), which states: "No
person, other than an individual representing himself/herself, shall appear or practice before this
Court except through representation of counsel." Accordingly, in order to appear before this
Court, an entity such as Snow Realty, RIGP must do so through representation of counsel.




                                                 IT IS SO ORDERED:

                                                                          Dated: _________

                                                 Diane Finkle, U.S. Bankruptcy Judge
